
















In The


Court of Appeals


Sixth Appellate District of Texas at Texarkana



______________________________



No. 06-01-00086-CR


______________________________




JAMES MATTHEW ROGERS, Appellant



V.



THE STATE OF TEXAS, Appellee




                                              


On Appeal from the 115th Judicial District Court


Upshur County, Texas


Trial Court No. 12,473




                                                 






Before Grant, Ross, and Cornelius,* JJ.

Opinion by Justice Grant



______________

*William J. Cornelius, Chief Justice, Retired, Sitting by Assignment


O P I N I O N



	James Matthew Rogers appeals from his conviction for sexual assault of a minor, J.J.  This
case was tried together with a charge of aggravated sexual assault of a minor, E.B.  Rogers was
convicted by a jury in both cases, and the judge assessed punishment at twenty years' imprisonment
on each offense, to run concurrently.  Both cases are currently before this court on appeal.  

	The same brief was filed for both appeals.  Because the arguments raised and the facts on
which those arguments are based are identical, for the reasons stated in Rogers v. State, cause
number 06-01-00085-CR, we likewise resolve the issues in this appeal in favor of the State.

	The judgment is affirmed.


						Ben Z. Grant

						Justice


Date Submitted:	June 3, 2002

Date Decided:		August 1, 2002


Do Not Publish



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of Appeals

&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp; Sixth
Appellate District of Texas at Texarkana

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06-10-00123-CV

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RE:

MICHAEL
KENNEDY

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Mandamus Proceeding

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Morriss, C.J., Carter and Moseley, JJ.

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Opinion by Justice Carter

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OPINION

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&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp; Michael Kennedy filed a petition for
writ of mandamus with the Twelfth Court of Appeals.&nbsp; By order of the Texas Supreme Court, that
mandamus has been transferred to this Court for decision.&nbsp; 

&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp; In his petition, Kennedy asks this
Court to issue an order directing a trial court clerk and the deputy clerk of
the Twelfth Court of Appeals to file his notices of appeal and asks that the
deputy clerk to deny not to file other motions and to stop using case number
12-08-00246-CR when case is 12-10-00297-CR.&nbsp;


&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp; As best we are able to discern from
the petition, Kennedy complains that his notice of appeal in trial court cause
number 4-41298, styled Michael Kennedy v.
Texas Court of Criminal Appeals, et al., was rejected for filing in the
trial court and in the Twelfth Court of Appeals.&nbsp; It also appears that Kennedy complains that a
series of motions were rejected for filing by the Tyler deputy clerk in two
specified cause numbers because it is alleged that the deputy clerk mistakenly
referenced the wrong cause number.&nbsp;
Attached to Kennedys petition are copies of two notices of appeal of
trial court cause number 4-41298.&nbsp; Also
attached is a letter from the Anderson County District Clerk indicating that
this matter was dismissed by order of the trial court on September 28,
2010.&nbsp; Finally, Kennedy has attached to
the petition a letter from the Tyler deputy clerk indicating that a mandate
issued in Kennedys appeal in cause number 12-08-00246-CR on April 30, 2010.&nbsp; 

&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp; The mandamus jurisdiction of this
Court is limited by statute.&nbsp; We have
jurisdiction to issue a writ of mandamus against a judge of a district or
county court in the court of appeals district.&nbsp;
Tex. Govt Code Ann. §
22.221(b) (Vernon 2004).&nbsp; As we are
sitting in the place of the Twelfth Court of Appeals, our jurisdiction in the
instant case provides us with authority to issue mandamus to a judge of a
district or county court within the territorial bounds of the Twelfth Appellate
District.

&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp; Here, it does not appear that relief
has been sought against any individual over whom we have general mandamus
authority.&nbsp; Accordingly, we have no
jurisdiction to provide the relief requested.[1]

&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp; We deny the petition for issuance of
writ of mandamus.

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&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp; 

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Carter

&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp; &nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp; &nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp; Justice

&nbsp;

Date
Submitted:&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp; December 1, 2010&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp; 

Date
Decided:&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp; December 2, 2010

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[1]Even
if we were to construe Kennedys petition as seeking relief against the trial
court, which has not clearly been requested, we have not been provided with a
sufficient record or argument to determine the merit of such a request.&nbsp; See
Walker v. Packer, 827 S.W.2d 833, 837 (Tex. 1992).&nbsp; 

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